               Case
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                    1:15-cv-07397-DLC
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                                                                                        N.Y.S.D. Case #
                            UNITED STATES COURT OF APPEALS                              15-cv-7397(DLC)
                                       FOR THE
                                    SECOND CIRCUIT
                                              _________________

              At a Stated Term of the United States Court of Appeals for the Second Circuit, held at the
      Thurgood Marshall United States Courthouse, 40 Foley Square, in the City of New York, on the
      11th day of May, two thousand and seventeen.

      ______________________________

      Arnold Rosenshein, DBA Park West Realty Co.,
                                                                        STATEMENT OF COSTS
                   Plaintiff - Appellant                                Docket No. 16-3189

      v.

      Jeffrey Meshel, Paradigm Credit Corp., Mercury Credit          USDC SDNY
      Corp., Paradigm Capital Group, LLC., Paradigm Capital
                                                                     DOCUMENT
      Funding, LLC., Mercury Capital Corp., Paradigm Monroe
      Center IIII, LLC, Paradigm Exchange LLC, Exchange              ELECTRONICALLY FILED
      Partners Group LLC, PCF Exchange LLC, Paradigm                 DOC #:   _________________
      Elizabeth LLC., Paradigm East Hanover LLC, East                             May 11, 2017
                                                                     DATE FILED: ______________
      Hanover Partners LLC, Tulipan Indursky & Sons LLC,

                   Defendants - Cross-Defendants - Appellees,

      Wayne Sturman, John Does, ABC Corps., David Kushner,

                   Defendants - Appellees,

      Marc Gleitman,

                 Defendant - Cross-Claimant - Appellee.
      ________________________________


            IT IS HEREBY ORDERED that costs are taxed in the amount of $168.60 in favor of the
      Defendants - Cross-Defendants - Appellees and the Defendants - Appellees.


                                                          For the Court:

                                                          Catherine O’Hagan Wolfe,
                                                          Clerk of Court




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